   Case
Name    2:11-cv-07098-AB-JPR Document 363 Filed 08/25/14 Page 1 of 1 Page ID #:15113
     & Address:
Joseph S. Belichick (CSB No. 229371)
jbelichick@fenwick.com
FENWICK & WEST LLP
801 California Street, Mountain View, CA 94041
P (650) 988-8500 / F (650) 938-5200

                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:
PERFECT 10, INC., a California corporation,                  2:11-cv-07098-AB (SHx)
                                              PLAINTIFF(S)
                             v.
GIGANEWS, INC., a TEXAS corporation; LIVEWIRE                          NOTICE OF MANUAL FILING
SERVICES, INC., a Nevada corporation, et al.                                 OR LODGING
                                           DEFENDANT(S).

PLEASE TAKE NOTICE:
          Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually        Filed       Lodged: (List Documents)
(1) DEFENDANTS GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.’S SUPPLEMENTAL
MEMORANDUM RE DEFENDANTS’ MOTION TO COMPEL DISCOVERY COMPLIANCE AND FOR
SANCTIONS; (2) SUPPLEMENTAL DECLARATION OF JOSEPH S. BELICHICK IN SUPPORT OF
DEFENDANTS GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.’S SUPPLEMENTAL
MEMORANDUM RE MOTION TO COMPEL DISCOVERY COMPLIANCE AND FOR SANCTIONS; (3)
SUPPLEMENTAL DECLARATION OF TODD R. GREGORIAN IN SUPPORT OF DEFENDANTS
GIGANEWS, INC. AND LIVEWIRE SERVICES, INC.’S SUPPLEMENTAL MEMORANDUM RE
MOTION TO COMPEL DISCOVERY COMPLIANCE AND FOR SANCTIONS; (4) NOTICE OF
LODGING; (5) APPLICATION TO FILE UNDER SEAL; (6) [PROPOSED] ORDER TO FILE
DOCUMENTS UNDER SEAL; and (7) CERTIFICATE OF SERVICE.

Reason:
      Under Seal and/or In Camera
      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
      Electronic versions are not available to filer
                               1/10/2014
      Per Court order dated: (Dkt. No. 172)
        Administrative Record
        Other: Documents 1-3 contain material designed confidential by Plaintiff and/or third-parties and
subject to the Protective Order, Dkt. 172; Documents 4-7 are required for manual filings.



August 25, 2014                                                /s/ Joseph S. Belichick
Date                                                           Attorney Name
                                                               Defendants Giganews & Livewire Services, Inc.
                                                               Party Represented

Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).

G-92 (04/14)                              NOTICE OF MANUAL FILING OR LODGING
                                                                                               American LegalNet, Inc.
                                                                                               www.FormsWorkFlow.com
